                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
GRAMERCY INSURANCE COMPANY                         :
5000 Quorum Drive, Suite 111
Dallas, TX 75254                                   :       Civil Action No. 3:12-CV-509

                             Plaintiff,            :       Judge Haynes

v.                                                 :
EXPEDITOR’S EXPRESS, INC.                          :
P.O. Box 79
Madison, TN 37116                                  :
and                                                :
JOHN TULLIS                                        :
616 Kinsey Blvd.
Madison, TN 37115                                  :
and                                                :
WILLIAM LITTLEFIELD                                :
dba LITTLEFIELD BROTHERS,
a sole proprietorship                              :
242 West Main Street, #387
Hendersonville, TN 37075                           :
and                                                :
SHIRLEY A. BROWN, Administrator                    :
of Estate of Donald D. Underwood
169 N. Imperial Drive                              :
Denison, TX 75020
                                                   :
                      Defendants.
            PLAINTIFF’S MOTION FOR JUDGMENT ON THE PLEADINGS
        Gramercy Insurance Company, pursuant to Rule 12 of the Federal Rules of Civil

Procedure, moves the Court for judgment on the pleadings.        All relevant facts have been

established by the pleadings in this declaratory judgment action. The trucker’s policy issued by

Gramercy Insurance Company to Expeditor’s Express, Inc. [Doc. 10] does not provide coverage

to Expeditor’s Express, Inc., or any other party, for the claim presented by Shirley A. Brown,

Administrator of the Estate of Donald D. Underwood, arising out of a vehicular accident which

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      Case 3:12-cv-00509 Document 20 Filed 10/30/12 Page 1 of 2 PageID #: 238
occurred on August 5, 2010 in which Mr. Underwood lost his life. The position of Gramercy

Insurance Company is more fully set forth in the accompanying Memorandum in Support.

Gramercy Insurance Company moves the Court for judgment on the pleadings that the policy

provides no coverage for claims against Expeditor’s Express, Inc. and others arising out of the

accident and the death of Mr. Underwood.

                                    Respectfully submitted,
                                    LEITNER, WILLIAMS, DOOLEY
                                    & NAPOLITAN, PLLC
                                    By:      s/Steven W. Keyt
                                             STEVEN W. KEYT (009200)
                                             Attorneys for Plaintiff Gramercy
                                             Insurance Company
                                             801 Broad Street, Third Floor
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                               CERTIFICATE OF SERVICE
        I, the undersigned attorney, do hereby certify that the foregoing document was filed
electronically with the Clerk of the Court using the CM/ECF system, which shall send
notification of such filing to the following:
                               Grace E. Daniell, Esq.
                               620 Lindsay Street, Suite 210
                               Chattanooga, TN 37403
                               Via U.S. Mail
                               William Littlefield
                               1023 Fontaine Drive
                               Goodlettsville, TN 37072
                               Via U.S. Mail
                               John Tullis
                               616 Kinsey Blvd
                               Madison, TN 37115
       This   30th   day of      October           , 2012.

                                          By: s/Steven W. Keyt



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    Case 3:12-cv-00509 Document 20 Filed 10/30/12 Page 2 of 2 PageID #: 239
